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                                                                  The Honorable J. Richard Creatura
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                            UNITED STATES DISTRICT COURT FOR THE
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 8
 9
     UNITED STATES OF AMERICA,                              NO. MJ23-5000-01 JRC
10
                            Plaintiff,                      MOTION FOR DETENTION ORDER
11
12                     v.
13   MATTHEW GREENWOOD,
14
                            Defendant.
15
16                 The United States moves for detention of the Defendant, pursuant to
17 18 U.S.C. § 3142(e) and (f).
18         1.      Eligibility of Case. This case is eligible for a detention order because this
19 case involves (check all that apply):
20                 Crime of violence (18 U.S.C. § 3156)
21          X      Crime of Terrorism (18 U.S.C. § 2332b(g)(5)(B)) with a maximum
22                 sentence of ten years or more
23                 Crime with a maximum sentence of life imprisonment or death
24                 Drug offense with a maximum sentence of ten years or more
25                 Felony offense and defendant has two prior convictions in the four
26                 categories above, or two State convictions that would otherwise fall within
27                 these four categories if federal jurisdiction had existed
     Motion for Detention- 1                                                UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     United States v. Matthew Greenwood, MJ23-5000-01 JRC                    SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
                Case 3:23-mj-05000-JRC Document 4 Filed 01/03/23 Page 2 of 3



 1                 Felony offense involving a minor victim other than a crime of violence
 2          X      Felony offense, other than a crime of violence, involving possession or use
 3                 of a firearm, destructive device (as those terms are defined in 18 U.S.C.
 4                 § 921), or any other dangerous weapon
 5                 Felony offense other than a crime of violence that involves a failure to
 6                 register as a Sex Offender (18 U.S.C. § 2250)
 7          X      Serious risk the defendant will flee
 8          X      Serious risk of obstruction of justice, including intimidation of a
 9                 prospective witness or juror
10                 Probable cause to believe the defendant has been found guilty of an offense
11                 and is awaiting imposition of a sentence under 18 U.S.C. § 3143(a) and
12                 Federal Rule of Criminal Procedure 32.1(a)(6).
13         2.      Reason for Detention. The Court should detain defendant because there are
14 no conditions of release which will reasonably assure (check one or both):
15          X      Defendant's appearance as required
16          X      Safety of any other person and the community
17         3.      Rebuttable Presumption. The United States will invoke the rebuttable
18 presumption against defendant under § 3142(e). The presumption applies because:
19          X      Probable cause to believe defendant committed a violation of one of the
20                 following offenses: 18 U.S.C.§§ 924(c), 956 (conspiracy to murder or
21                 kidnap), 2332b (act of terrorism), 2332b(g)(5)(B) (crime of terrorism)
22                 Legal authority: The Bail Reform Act, at Title 18, United States Code,
23                 Section 3142(e)(3)(C), provides a rebuttable presumption for detention in
                   cases like the instant one, where a defendant is charged with an offense
24                 listed in 18 U.S.C. § 2332b(g)(5)(B). Conspiracy to Damage an Energy
                   Facility, in violation of 18 United States Code Section 1366, is such an
25
                   offense when – as charged in the complaint here – it involves the
26                 “significant interruption and impairment of a function of an energy
                   facility.” See 18 U.S.C. § 2332b(g)(5)(B) and 18 U.S.C. § 1366(a).
27
     Motion for Detention- 2                                            UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     United States v. Matthew Greenwood, MJ23-5000-01 JRC                SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
                Case 3:23-mj-05000-JRC Document 4 Filed 01/03/23 Page 3 of 3



 1         4.      Time for Detention Hearing. The United States requests the Court conduct
 2 the detention hearing:
 3          X      At the initial appearance
 4                 After continuance of ____ days (not more than 3)
 5
 6         DATED this 3rd day of January, 2023.
 7
 8                                                 Respectfully submitted,
 9                                                 NICHOLAS W. BROWN
                                                   United States Attorney
10
11                                                 s/Stephen Hobbs
12                                                 STEPHEN P. HOBBS
                                                   Assistant United States Attorney
13                                                 United States Attorney’s Office
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     Motion for Detention- 3                                              UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Matthew Greenwood, MJ23-5000-01 JRC                  SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
